     Case 18-36433-KRH                 Doc 15      Filed 02/05/19 Entered 02/05/19 12:35:12                              Desc Ntc of
                                                  Deficient Filing Page 1 of 2
                                              United States Bankruptcy Court
                                                     Eastern District of Virginia
                                                         Richmond Division
In re:                                                           Case Number 18−36433−KRH
 Richard Clayton Snead Jr.                                       Chapter 7
Sharon Kay Snead                                                 Judge Kevin R. Huennekens
                                                    Debtor(s)
To: Theseus Schulze

                                                NOTICE OF DEFICIENT FILING
Upon authority of Local Bankruptcy Rule 5005−1, the documents submitted by you

13 − Motion for Relief from Stay Re: 60 Cecelia Court, Surry, VA 23883 with Notice of Hearing, filed by Theseus
Danger Schulze of Orlans Group, PC on behalf of Nationstar Mortgage LLC d/b/a Mr. Cooper. Hearing scheduled
for 3/6/2019 at 11:00 AM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
(Attachments: # 1 Notice of Motion # 2 Note # 3 Deed of Trust # 4 Assignment) (Schulze, Theseus)
contain certain deficiencies as set forth below. Failure to correct the deficiencies, or to request a hearing on or before February 19, 2019,
may result in the pleading or other paper being stricken from the record or, if a petition or complaint is deficient, the case or adversary
proceeding being dismissed.
REPRESENTATION AND APPEARANCES:
       the ECF registered participant attorney filing the document does not match the attorney's signature on the document.
       Requirement of Counsel: filed on behalf of an entity not a natural person acting on own behalf and not signed by counsel permitted
       to appear under LBR 2090−1. [See LBR 9010−1]
       Identification of Attorney: State Bar number omitted from document/proposed order. [See LBR 5005−1(C)(5) and 9022−1(A)]
       a written application for pro hac vice admission must be appended to the motion filed by a member of the Bar of this Court. [See
       LBR 2090−1(E)(2)(a)]
REQUIREMENT OF FORM:
       Legibility: not in compliance with LBR 5005−1(C)(1)
       Caption, Official Forms: [See LBR 5005−1(C)(2)] Every paper must bear the debtor(s) name, the case number and chapter of the
       case to which it pertains and be in substantial compliance with the current Official Form. If applicable, Case name and/or number
       do not match on paper submitted.
       Not on acceptable form approved by Court for use in Eastern District of Virginia pursuant to Local Bankruptcy Rule 3015−2(A).
 X     Signature Required: not signed by counsel of record, or individual, if pro se.
              if corporation, not signed by counsel. [See LBR 5005−1(C)(4)]
              if amendment to petition, lists or *schedules, not verified by unsworn declaration with original signature of all debtors and, if
              required, the original signature of the attorney. [See FRBP 1008]
              if document submitted in electronically filed case, signature not indicated with the party's name and/or attorney's name typed
         X in full on the signature line, e.g. /s/ Jane Doe. [See CM/ECF Policy Statement 8.B., Form of Signature of Attorney User and
              Non−Attorney User.]
       Document does not appear to be complete. Please review this filing for possible error and relate any amendment/correction to the
       original document.
       Document does not match the event entry used for docketing. Please review this filing and redocket using the correct event entry or
       redocket to attach the correct document.
       Document appears to be filed in the wrong case. Please review this filing and docket to the correct case.
       Document does not include a certification whether an Attorney assisted with the preparation of the document. [See LBR 2090−1]
       *Schedules/Amended schedules do not include Form 106Dec − Declaration About an Individual Debtor's Schedules, or Form
       106Dec is not signed.
VOLUNTARY PETITIONS:
       Not accompanied by a properly completed Voluntary Petition and/or required summary of schedules (2−pages), statements,
       schedules, lists and exhibits in substantial compliance with the Official Forms which are available on the Court's web site at
       www.vaeb.uscourts.gov.
       More than one entity listed as the debtor (only husband and wife may file a joint voluntary petition).
       Not verified by signature of attorney for debtor(s).
       Not verified by unsworn declaration with signature of all debtors.
       If corporate debtor: not accompanied by corporate resolution authorizing filing and/or not signed by attorney. [See LBR 1074−1]
       If Chapter 11: not accompanied by List of Twenty Largest Unsecured Claims. [See LBR 1007−1]
       If publicly traded chapter 11: not accompanied by Exhibit A (attached to petition).
       If submitted in electronically filed case, a correct petition not attached at case opening. [See LBR 5005−1(C) and (D)]
Date: February 5, 2019                                           Clerk, United States Bankruptcy Court
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                                           By /s/ Cindy Baumgartner, Deputy Clerk
[defntcvDec2017.jsp]                       Direct Dial Telephone No. 804−916−2413
